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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 23-20500-CR-ALTMAN

  UNITED STATES OF AMERICA,

  v.

  CARLOS AUGUSTO GUERRERO BLANCO,
  ANGELO AGUSTIN COELLO CLEMENTE, and
  LUIS EDUARDO RODULFO TORRES,

        Defendants.
  _________________________________/

                                             TRIAL ORDER

          The Court hereby sets this case for a Criminal Jury Trial at 400 N. Miami Avenue,

  Courtroom 12-4, Miami, Florida 33128, during the two-week period beginning June 3, 2024. A

  Calendar Call will be held at 1:30 p.m., on May 28, 2024, at the same location. The deadline for the

  scheduling of guilty pleas is May 28, 2024. See, e.g., United States v. Gamboa, 166 F.3d 1327, 1331 (11th

  Cir. 1999) (citing United States v. Ellis, 547 F.2d 863, 868 (5th Cir. 1977)). The Defendants’ appearances

  are required at all hearings.

          It is further ORDERED that:

          1.      All pre-trial motions and motions in limine must be filed by May 14, 2024. Each party

                  is limited to one motion in limine. If there are multiple defendants, the defendant shall

                  file one combined motion. Motions in limine may not, without leave of Court, exceed

                  the page limits allowed by the Local Rules.

          2.      All requests for writs ad testificandum must be filed no later than 14 business days before

                  the first day of the scheduled trial period.

          3.      All responses to the Standing Discovery Order or Local Rule 88.10 shall be provided

                  in a timely fashion in accordance with the dates scheduled by the Magistrate Judge.
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             Noncompliance with the Standing Discovery Order, the Local Rules, or the Federal

             Rules of Criminal Procedure may result in sanctions. Any notice submitted under

             Federal Rule of Evidence 404(b) shall include a specific factual basis for the evidence

             the Government wants to introduce.

       4.    All motions shall be accompanied by a written statement certifying that counsel for

             the moving party has conferred with opposing counsel in a good faith effort to resolve

             by agreement the subject matter of the motion. Email communications are not

             sufficient to constitute conferral. Counsel must actually speak to one another, either

             in person or over the phone, in a good-faith effort to resolve their disputes.

       5.    Counsel shall be prepared to conduct limited voir dire after the Court’s questioning of

             the panel. At any time before the Calendar Call, each party may file five proposed

             voir dire questions for the Court to ask of the venire.

       6.    Before the Calendar Call, the parties shall submit, in Word format, via e-mail to

             altman@flsd.uscourts.gov, a single set of proposed jury instructions, including

             substantive charges and defenses, and a verdict form. For instructions on filing

             proposed documents, please see http://www.flsd.uscourts.gov. Although they need

             not agree on each proposed instruction, the parties shall submit their proposed jury

             instructions and verdict form jointly. Where the parties do not agree on a proposed

             instruction, that instruction shall be set forth in bold type. Instructions

             proposed only by the Government shall be underlined. Instructions proposed




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                solely by the defense shall be italicized . Every instruction must be supported by

                citations to authority.

        7.      Before the Calendar Call, counsel shall file lists of proposed witnesses and exhibits.

                All exhibits must be pre-labeled in accordance with the proposed exhibit list.

                Government exhibits shall be designated numerically; defense exhibits will proceed

                alphabetically.

        8.      If any party seeks to introduce transcript(s) at the trial, that party shall exchange those

                transcripts with all counsel before the Calendar Call. If a transcript cannot be agreed

                upon, each party shall be prepared to produce its own version for the trier of fact.

        9.      The Government must turn over to defense counsel all Jencks Act1 material by the

                day of the Calendar Call. The material shall include a face sheet for defense counsel

                to sign and date, acknowledging receipt.

        10.     Upon receipt of this Order, counsel for each defendant shall certify with the Court’s

                courtroom deputy whether that defendant requires the aid of an interpreter. In

                addition, all parties must notify the Court, at least 24 hours before any hearings or trial,

                if an interpreter is required.




  18 U.S.C. § 3500.
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        11.    At least seven days before the scheduled trial date, defense counsel must make

               arrangements with the Bureau of Prisons for appropriate clothing for their in-custody

               clients.

        12.    The parties shall comply with Local Rule 88.5, which requires the filing of speedy trial

               reports every 20 days hereafter until the time of trial or plea.

        13.    Local Rule 7.1(a)(2) requires that certain motions be accompanied by proposed orders,

               which must be filed as attachments to those motions. FURTHERMORE,

               PURSUANT           TO      CM/ECF         ADMINISTRATIVE            PROCEDURES,

               PROPOSED ORDERS SHALL BE SUBMITTED TO THE COURT BY E-

               MAIL IN WORD FORMAT TO altman@flsd.uscourts.gov.

        DONE AND ORDERED in the Southern District of Florida on May 1, 2024.




                                                          _________________________________
                                                          ROY K. ALTMAN
                                                          UNITED STATES DISTRICT JUDGE
  cc:   counsel of record




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